 Fill in this information to identify your case and this filing:

  Debtor 1                          Jessica                      McColl                     Neilson
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                       Western District of Washington
                                                                                                                                                                                   ✔
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                   18-14235                                                                                                                               amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     33011 36th Ave Sw                                               What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Federal Way, WA 98023-2615                                    ❑ Land                                                                                  $354,000.00                    $354,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               King
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Fee Simple
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $354,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1

                      Case 18-14235-CMA                                  Doc 17               Filed 12/19/18                      Ent. 12/19/18 11:25:50                           Pg. 1 of 13
 Debtor 1                  Jessica                       McColl                           Neilson                                                             Case number (if known) 18-14235
                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ❑ No
      ✔ Yes
      ❑
      3.1 Make:                                   Toyota                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                  Corolla
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                            ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                  2015                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                  44000                                                                                                   entire property?            portion you own?
            Approximate mileage:                                                                                                                                        $9,953.00                  $9,953.00
            Other information:                                              ❑Check if this is community property (see
                                                                                instructions)




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $9,953.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                   Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

 6. Household goods and furnishings
      Examples:       Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Household Goods and Furnishings
                                                                                                                                                                                                     $2,500.00

 7. Electronics
      Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                      electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Electronics, including but not limited to laptop, tv, printer, Alexa Echo, Apple 1 Phone, Samsung Phone,
                                               Xbox 1
                                                                                                                                                                                                      $700.00


 8. Collectibles of value
      Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........



Official Form 106A/B                                                                                    Schedule A/B: Property                                                                     page 2

                     Case 18-14235-CMA                                   Doc 17               Filed 12/19/18                       Ent. 12/19/18 11:25:50                        Pg. 2 of 13
 Debtor 1                      Jessica                            McColl                                 Neilson                                                                    Case number (if known) 18-14235
                               First Name                         Middle Name                            Last Name



 9. Equipment for sports and hobbies
       Examples:          Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                          carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                      bicycle                                                                                                                                                             $150.00



 10.    Firearms
        Examples:           Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:           Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      Wearing Apparel and Shoes                                                                                                                                         $1,500.00



 12.    Jewelry
        Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      Costume Jewelry, 1 antique gold watch
                                                                                                                                                                                                                          $200.00



 13.    Non-farm animals
        Examples:           Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      2 cats                                                                                                                                                                $0.00



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜                                    $5,050.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                              Current value of the
                                                                                                                                                                                                           portion you own?
                                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                                           claims or exemptions.


 16.    Cash
        Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ❑ No
        ✔ Yes........................................................................................................................................................
        ❑                                                                                                                                                               Cash..............
                                                                                                                                                                                                                           $10.00




Official Form 106A/B                                                                                                     Schedule A/B: Property                                                                        page 3

                        Case 18-14235-CMA                                           Doc 17                   Filed 12/19/18                            Ent. 12/19/18 11:25:50                         Pg. 3 of 13
 Debtor 1                 Jessica                     McColl                Neilson                                        Case number (if known) 18-14235
                          First Name                  Middle Name           Last Name



 17.   Deposits of money
       Examples:        Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                        similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                               Institution name:



 17.1. Checking account:                        Key Bank                                                                            $4,803.62


 17.2. Checking account:


 17.3. Savings account:                         USAA                                                                                    $0.38


 17.4. Savings account:


 17.5. Certificates of deposit:


 17.6. Other financial account:


 17.7. Other financial account:


 17.8. Other financial account:


 17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
 Type of account:                     Institution name:



Official Form 106A/B                                                                  Schedule A/B: Property                                                  page 4

                     Case 18-14235-CMA                             Doc 17     Filed 12/19/18           Ent. 12/19/18 11:25:50                   Pg. 4 of 13
 Debtor 1                 Jessica               McColl                 Neilson                                          Case number (if known) 18-14235
                          First Name            Middle Name             Last Name



 401(k) or similar plan:            TIAA Cref                                                                                 $249,037.94

 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                  Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.      Give specific information about                                                                        Federal:
                   them, including whether you
                   already filed the returns and the                                                                      State:
                   tax years.......................
                                                                                                                          Local:



 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement




Official Form 106A/B                                                              Schedule A/B: Property                                                   page 5

                    Case 18-14235-CMA                      Doc 17         Filed 12/19/18               Ent. 12/19/18 11:25:50               Pg. 5 of 13
 Debtor 1                  Jessica                        McColl                             Neilson                                                              Case number (if known) 18-14235
                           First Name                      Middle Name                       Last Name




       ❑ No
       ✔ Yes.
       ❑            Give specific information..........
                                                                                                                                                                     Alimony:

                                                                                                                                                                     Maintenance:
                                                                       Back Child Support                                                                            Support:                               $1,875.00

                                                                                                                                                                     Divorce settlement:

                                                                                                                                                                     Property settlement:


 30.   Other amounts someone owes you
       Examples:         Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                         Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.       Name the insurance company
                                                                           Company name:                                                             Beneficiary:                           Surrender or refund value:
                    of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue

       ❑ No
       ✔ Yes.
       ❑            Describe each claim................                See Attached.
                                                                                                                                                                                                            unknown



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                             $255,726.94




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                          page 6

                      Case 18-14235-CMA                                    Doc 17               Filed 12/19/18                        Ent. 12/19/18 11:25:50                           Pg. 6 of 13
 Debtor 1                  Jessica                        McColl                            Neilson                                                               Case number (if known) 18-14235
                           First Name                      Middle Name                       Last Name




 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                               $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                    page 7

                     Case 18-14235-CMA                                     Doc 17               Filed 12/19/18                        Ent. 12/19/18 11:25:50                        Pg. 7 of 13
 Debtor 1                  Jessica                         McColl                            Neilson                                                              Case number (if known) 18-14235
                           First Name                      Middle Name                       Last Name



 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                             $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:         Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                              $0.00



 Part 8: List the Totals of Each Part of this Form



Official Form 106A/B                                                                                       Schedule A/B: Property                                                                    page 8

                      Case 18-14235-CMA                                    Doc 17               Filed 12/19/18                        Ent. 12/19/18 11:25:50                        Pg. 8 of 13
 Debtor 1                   Jessica                          McColl                              Neilson                                                                 Case number (if known) 18-14235
                            First Name                       Middle Name                          Last Name



 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                        $354,000.00


 56.   Part 2: Total vehicles, line 5                                                                                          $9,953.00


 57.   Part 3: Total personal and household items, line 15                                                                     $5,050.00


 58.   Part 4: Total financial assets, line 36                                                                             $255,726.94


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                      $270,729.94              Copy personal property total➜         +            $270,729.94




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                       $624,729.94




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                       page 9

                      Case 18-14235-CMA                                       Doc 17                 Filed 12/19/18                         Ent. 12/19/18 11:25:50                         Pg. 9 of 13
 Debtor 1              Jessica          McColl                 Neilson                                    Case number (if known) 18-14235
                       First Name       Middle Name            Last Name



                                                      SCHEDULE A/B: PROPERTY
                                                                  Continuation Page

 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Potential Claim against Otsuka America Pharmaceutical, Inc. and other unknown defendants re adverse                                   unknown
      reactions from Abilify Drug
      Potential Claim against online gambling websites for violations of WA gambling laws: Chumbacasino.com and                             unknown
      Double Down Interactive.




Official Form 106A/B                                                     Schedule A/B: Property
               Case 18-14235-CMA                  Doc 17        Filed 12/19/18           Ent. 12/19/18 11:25:50            Pg. 10 of 13
 Fill in this information to identify your case:

  Debtor 1                         Jessica                        McColl                     Neilson
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                        Western District of Washington

  Case number                                   18-14235                                                                                                                            ✔
                                                                                                                                                                                    ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $354,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                            $270,729.94


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $624,729.94



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $282,297.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $30,308.44


                                                                                                                                                                  Your total liabilities                    $312,605.44

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $4,982.35


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $2,619.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2

                    Case 18-14235-CMA                                   Doc 17                Filed 12/19/18                       Ent. 12/19/18 11:25:50                            Pg. 11 of 13
 Debtor 1             Jessica                McColl                   Neilson                                             Case number (if known) 18-14235
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                       $4,712.17




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2 of 2
                 Case 18-14235-CMA                      Doc 17          Filed 12/19/18              Ent. 12/19/18 11:25:50                     Pg. 12 of 13
 Fill in this information to identify your case:

  Debtor 1                   Jessica               McColl           Neilson
                             First Name            Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                           18-14235                                                                                      ✔
                                                                                                                                      ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                               12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                      (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Jessica McColl Neilson
        Jessica McColl Neilson, Debtor 1, Debtor 1                     ✘
        Date 12/19/2018                                                    Date
                MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules

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